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UNITED sTATEs DISTRICT COURT L M';'C'
WEsTERN DIsTRICT oF TENNESSEE
Western Division

  

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-v- Case No. 2:02cr20433-4-D

UNITED STATES OF AMERICA

MELISSA HALL

 

ORDER SETI`|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretn`al Services Offlce, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Coult.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
cornrnunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 Defendant shall abide by all conditions of supervised release previously imposed..

0 Report as directed by the Probation Office.

ADV|CE OF PENALT|ES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate iss
your arrest, a revocation of release, an order of detention, and a prosecution for contemp of co
a term of imprisonment, a fine, or both.

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The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

penalties for tanipering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fmed not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. in addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above. ,\(EM
' gignature of Defendant

MELISSA HALL
5505 OA.KBARK, #l
MEMPHIS, TN 38116
901-690-6986

 

DIRECT|ONS TO THE UN|TED STATES MARSHAL

g The defenth is ORDERED released after processing.
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judici`al Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August 30, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

Ao iesA order seizing cnneiiionr. of neiease -2-

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 218 in
case 2:02-CR-20433 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

Financial Unit
FINANCIAL UNIT
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Ste. 242

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

